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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA

                           Case No. 20-24044-Civ COOKE/TORRES

  EDUARDO SOTO, as Personal
  Representative of the Estate of
  OSVALDO SOTO,

         Plaintiff,

  v.

  EXPEDIA GROUP, INC.,
  BOOKING.COM B.V., BOOKING
  HOLDINGS INC.,

        Defendants.
  _____________________________/

               PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY

         Plaintiff Eduardo Soto, as Personal Representative of the Estate of Osvaldo Soto,

  pursuant to Local Rule 7.8, respectfully submits this Notice of Supplemental Authority in

  support of its opposition [D.E. 79] to Defendants’ Joint Motion to Dismiss [D.E. 70]. On

  March 21, 2022, Judge Beth Bloom entered an omnibus order (“Order”) granting summary

  judgment for the plaintiff in four related matters styled Havana Docks Corp. v. Carnival Corp.,

  Case No. 19-cv-21724 Bloom/McAliley, Havana Docks Corp. v. MSC Cruises S.A. et al., Case

  No. 19-cv-23588 Bloom/Louis, Havana Docks Corp. v. Royal Caribbean Cruises, Ltd., Case No.

  19-cv-23590 Bloom/Louis, and Havana Docks Corp. v. Norwegian Cruise Line Holdings, Ltd.,

  Case No.: 19-cv-23591 Bloom/Louis, 2022 WL 831160, (S.D. Fla. Mar. 21, 2022), a copy

  of which is attached as Exhibit A.

          The Order resolves certain questions that presently are pending in defendants’

  motion to dismiss. Those questions include: the definition and application of the term
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  “trafficking” (Order at 80-90); the definition and application of “knowingly and

  intentionally” (Order at 90-98, 153-54); the “lawful travel exception” (Order at 113-45); due

  process (Order at 152); and the act of state doctrine (Order at 158-59).

         Dated: March 28, 2022

                                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

         I certify that on March 28, 2022, I electronically filed this document with the Clerk
  of the Court using CM/ECF. I also certify that this document is being served today on all
  counsel of record by transmission of Notices of Electronic Filing generated by CM/ECF.


                                      By:            /s/ Andrés Rivero          _
                                                    ANDRÉS RIVERO
